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                                                                   Exhibit B
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                                 Subparagraphs (a) or (b);

                         d.      The persons and entities designated by the reference "National Union" as
                                 set forth above and herein shall expressly and specifically be deemed and
                                 considered third party beneficiaries to the rights, obligations, terms, and
                                 conditions of this Agreement, and the rights, obligations, terms, and
                                 conditions of this Agreement shall inure to the benefit of and shall be in
                                 favor of each and every person and entity designated under the reference
                                 "National Union," and this shall constitute a stipulation pour atlfrui without
                                 the necessity that said persons or entities execute this Agreement.

                  2. "WRS" means:

                          a.     Wallace Rush Schmidt, Inc, and all of its associated, affiliated, or related
                                 companies, business entities, or corporations, including without limitation
                                 any present or former parent corporations, brother or sister corporations,
                                 subsidiary corporations, and unincorporated divisions. It being expressly
                                 understood the Plaintiffs' reserve all rights, to the extent there is liability
                                 insurance coverage available to the associated or related WRS business
                                 entities bearing responsibility for the August 28, 2016 accident, which is
                                 expressly denied by WRS.

                          b.     All present or former agents, representatives, officers, members, directors,
                                 shareholders, employers, employees, administrators, or executors of any of
                                 the companies or other entities named or described in Subparagraph (a);

                          c.      Walls Resource Systems, David Wallace, Karen Wallace, Eddie Schmidt,
                                  Cynthia Beaupre Schmidt and Howard Rush;

                          d.      The persons and entities designated by the reference "WRS" as set forth
                                  above and herein shall expressly and specifically be deemed and considered
                                  third patty beneficiaries to the lights, obligations, terms, and conditions of
                                  this Agreement, and the rights, obligations, terms, and conditions of this
                                  Agreement shall inure to the benefit of and shall be in favor of each and
                                  every person and entity designated under the reference "WRS," and this
                                  shall constitute a stipulation pour autl'ui without the necessity that said
                                  persons or entities execute this Agreement.

                                                        RECITALS

                  The above parties state as follows:

                   WHEREAS, the above~referenced Lawsuits were filed and arise out of a rnulti-vehicle
           accident which occurred on August 28, 2016 ("Incident"), which generally claim that the Plaintiffs
           and/or individuals represented by the Plaintiffs were injured and/or died as a result of injuries
           sustained;

                  WHEREAS, National Union and/or WRS have been made parties/defendants in ce11ain of
           the above-referenced Lawsuits and have denied liability and responsibility for damages;

                  WHEREAS, Claimants certify that all Lawsuits have been consolidated into one action
           pending before the 19th Judicial District Court, Parish of East Baton Rouge, State of Louisiana;

                   WHEREAS, every Claimant and hislher attorney(s): (a) voluntarily agreed to a binding
           settlement allocation process granting allocation decisional authority to a neutral, Arbitrator
           Vincent P. Fornias; (b) submitted to Arbitrator Fornias a proof of claim and all supporting
           documentation; (c) have been provided with his/her allocation percentage as awarded by Arbitrator
           Fornias; (d) fully and finally accepts hislher allocation percentage after consultation with counsel;
           and (e) warrants that he/she is satisfied with the allocation percentage;
                                                         Page -4-
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                  WHEREAS, National Union issued a Staffing Services Industry Liability Program Policy,
          Policy No. NP037053704-01, with a policy period of May 4, 2016 to May 4, 2017 and National
          Union issued a Commercial Umbrella Liability Policy, Policy No. 29-UD-042866942, with a
          policy period of May 4, 2016 to May I, 20 17 (collectively "Policies");

                 \VHEREAS, National Union has asserted coverage defenses in the Lawsuits where it is a
          defendant and has issued a reservation of rights to WRS, denying coverage; and

                   WHEREAS, without admitting any liability, insurance coverage, or responsibility
           whatsoever, the parties hereto have agreed to compromise and settle the claims against National
           Union and WRS in the Lawsuits, including any and all claims, rights, demands, causes of action,
           defenses, exceptions, and/or appeals arising out of and related to the Incident and/or the Lawsuits,
           on the following terms:

                                                     AGREEMENT

           1.       Effective Date. The "Effective Date" of this Agreement shall be the date the last Claimant
           listed above executes this Agreement. All patiies agree that this Agreement is conditioned upon
           all Lawsuits having been consolidated and all pat1ies' acceptance of the terms of this Agreement
           through execution of it. If any Claimant refuses to execute this Agreement, then there is no
           settlement, and this Agreement will have no effect. It is understood and agreed that this is not a
           proposed class settlement, and each Claimant included in this settlement and their counsel must
           agree to the execution, final release, and dismissal of the referenced claims against National Union
           and WRS. Each Claimant and their counsel agree to take all steps necess8l)' to achieve this
           outcome. In the evcnt that the proposed settlement with each Claimant fails for any reason,
           National Union has the undeniable right to refuse to deposit the Settlement Amount into the
           registl)' of the court.

           2.     Incorporation of Recitals. The Recitals set forth above are incorporated herein by
           reference.

           3.      Release of National Union by Claimants. In consideration of the payment of the
           Settlement Amount, each Claimant declares that each does hereby release, acquit, covenant not to
           sue, covenant not to execute, and forever discharge National Union of and from any and all past,
           present and future claims, demands, causes of action and rights of action, whatsoever, known and
           unknown, anticipated and unanticipated, which has, may, or might have resulted and/or will result
           fi:om the Incident or the Lawsuits under the Policies, including without limitation, any and all
           claims, rights of action and causes of action for past, present and future bodily and personal
           injuries, insurance coverage, claims under the Policies, violations of the Louisiana Insurance Code,
           bad faith, violation of any law, statute, or regulation, including unfair claims practices acts or other
           similar statutes, physical and mental pain and suffering, general damages, disability,
           disfigurement, loss of enjoyment of life, loss of wages, loss of income, loss of earning capacity,
           medical payments, medical expenses, surgical expenses, wrongful death, survival, property
           damage,loss of diminution in value, rental expenses, penalties, loss of consortium, loss of society,
           loss of love and affection, subrogation, indemnification, contribution, reimbursement, attorneys'
           fees, and any and all damages of whatsoever kind or character which may have been sustained
           and/or might in the future be sustained in any way resulting from or related to the Incident.

           4.      Limited Release bv Claimants of\VRS.

                    a.     In consideration of the deposit of the Settlement Amount, each Claimant declares
           that each does hereby release, acquit, covenant not to execute and forever discharge WRS, of and
           from any and all past, present and future claims, demands, causes of action and rights of action,
           whatsoever, known and unknown, anticipated and unanticipated, which has, may, or might have
           resulted andlor will result from the Incident, including without limitation, any and all claims, rights
           of action and causes of action for past, present and future bodily and personal injuries, physical
           and mental pain and suffering, general damages, disability, disfigurement, loss of enjoyment of
           life, loss of wages, loss of income, Joss of earning capacity, medical payments, medical expenses,
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          surgical expenses, wrongful death, survival, property damage, loss of diminution in value, rental
          expenses, loss of consortium, loss of society, loss of love and affection, subrogation,
          indemnification, contribution, reimbursement, attorneys' fees, and any and ali damages of
          whatsoever kind or character which may have been sustained and/or might in the future be
          sustained in any way resulting from or related to the aforesaid Incident.

                  b.      HO\VEVER, this release is subject to and limited only by each Claimant's right:
          (l) to pursue WRS to the extent it carries other valid and collectible insurance issued by insurers
          other than National Union and/or any insurer corporately affiliated with American International
          Group, Inc., (2) to pursue WRS to the extent it is an additional insured under Policy No. 73 APR
          325304 issued by National Liability & Fire Insurance Company to Kristina's Transportation, LLC;
          and (3) to seek recovery for any amounts WRS has paid or will pay into the reserve fund approved
          by the Bankmptcy Court in III Re: Wallace, Rush, SchmMt, U.S. Bankruptcy Court, E.D. La., Case
          No. 17-10698.

           5.      Release of National Union by \VRS. In consideration of the deposit of the Settlement
           Amount, WRS hereby waives, releases, and discharges any and all actions, causes of action,
           claims, defenses, demands, lawsuits, proceedings, and rights of action, whatsoever, 'known and
           unknown, anticipated and unanticipated, that it has or could have alleged, made, or asserted against
           National Union, including, without limitation, any and all claims for violations of the Louisiana
           Insurance Code, bad faith, violation of any law, statute, or regulation, including unfair claims
           practices acts or other similar statutes, insurance coverage, defense, attorney's fees, subrogation,
           indemnification, contribution, reimbursement, and any and every other category of relief of any
           type allowed by or available under any applicable law concerning or arising out of the Incident
           and/or Lawsuits, and/or in connection with or in any manner relating to the Policies, and from any
           and all accidents, claims, causes of action, demands, interest, and rights which arise under the
           Policies and/or which could have been brought or asserted in the Lawsuits.

           6.      Settlement Amount.

                   a.     Within thirty (30) days of the execution of this Agreement by all Claimants,
                          National Union shall pay into the registry of the Nineteenth Judicial District Court,
                          Parish of Baton Rouge, State of Louisiana, the sum THREE MILLION NOIlOO
                          ($3,000,000.00) DOLLARS ("Settlement Amount").

                   b.     Upon said deposit into the registry of the Court, Claimants and their counsel agree
                          to be solely responsible for any and all arrangements for proper distribution of the
                          amounts to each Claimant as per the settlement allocation protocol of Arbitrator
                          Fornias. It is expressly agreed that National Union and WRS will have no
                          involvement or responsibility for distribution of any sums or any fees or expenses
                          associated therewith.

                   c.     Claimants each agree that the monies they receive will not be deposited into a
                          468-b Qualified Settlement Fund.

           7.       Motion(s) to Dismiss. \Vithin fomteen (14) days of deposit ofthe Settlement Amount, the
           parties agree to file a joint motion to dismiss National Union with prejudice from the Lawsuits.
           Additionally, within fOUiteen (14) days of deposit of the Settlement Amount, the parties agree to
           file a limited dismissal ofWRS consistent with Section 4(b). Claimants agree to cooperate and to
           take whatever steps are necessary with the court to ensure dismissals are obtained.

           8.      Claimants' Reservation of Claims Against Other Parties. The claims of Claimants
           against all other defendants that are not National Union or WRS are not released and are fully
           preserved under this Agreement. Claimants specifically reserve all rights to proceed against all
           other defendants who remain pm1ies to the Lawsuits and all other tortfeasors, named and unnamed,
           including but not limited to any ServPro entity.

           9.     Ownershin of Claims. Claimants each certify that s/he is the proper party to assert the
           claims in the Lawsuits, and each has the authority to assCl1 and settle the claims released herein.
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          Claimants represent and warrant that no other person or entity, other than their attorneys, has any
          interest in the claims released in this Agreement, and that they have not sold, assigned, alienated,
          or otherwise transferred by any means any pati of or all of the claims released herein. Further,
          Claimants agree to indemnifY, defend, and hold National Union and WRS harmless from any legal
          fees, costs, expenses, and/or judgment(s) which may be incurred as a result of any and all claims
          and/or causes of action which may be asserted against National Union and/or WRS in the event
          that any Claimant is not the proper party to assert the claims andlor any Claimant has sold,
          assigned, alienated, or othelwise transferred by any means any of the claims released herein. In
          addition, Claimants agree to indemnify, defend, and hold National Union and WRS harmless from
          any legal fees, costs, expenses, and/or judgments which may be incurred as a result of any and all
          claims for attorney fees including, but not limited to, claims for unpaid refell'ai fees.

           10.     Contribution/Indemnity. Claimants recognize that persons or entities against whom they
           have asserted a claim, filed a suit, and/or obtained a judgment or settlement may asseli or allege
           that National Union and/or WRS are also liable for Claimants' damages and that such persons or
           entities may assert claims against National Union and/or WRS seeking tort indemnity and/or
           contribution. Claimants covenant and agree not to execute upon any judgment arising out of the
           Incident which they may obtain against any party to the extent that it would become the obligation
           of National Union and/or WRS to pay any judgment, 01' portion thereof, by way of contribution
           and/or tort indemnification. Claimants further agree to indemnify and hold harmless National
           Union and/or WRS from any and all claims, actions, and/or suits asserted by any person or entity
           against National Union and/or WRS for tort indemnity and/or contribution which arise out of
           and/or are in any way connected with the Incident and/or the Lawsuits. Nothing herein shall impair
           Claimants' rights under Section 4(b).

           11.     Claimant Resllonsibility fol' Liens. Claimants specifically represent and warrant that
           (other than Medicare's interests) any liens, assignments, subrogation, encumbrances,
           garnishments, interventions, security interests, or other right of any person or entity to the
           Settlement Amount are each Claimant's sole and exclusive responsibility. In the event that any
           liens, assignments, subrogation, encumbrances, garnishments, interventions, security interests, or
           other right of any person 01' entity to the Settlement Amount exist, including, but not limited to,
           any such claims by any health care provider, any state or other governmental body (including, but
           not limited to, Medicaid) and/or any employer andlor worker's compensation insurer that would
           give such person or entity a claim to payment of all or a portion of the Settlement Amount, then
           Claimants specifically assume the obligation to payor satisfy any such liens or claims. Claimants
           further agree to indemnify, defend, and hold harmless National Union and WRS from any and all
           legal fees, cosl'), expenses, and/or judgment(s) related to and/or arising out of any such claims,
           liens, assignments, subrogation, encumbrances, garnishments, interventions, security interests
           and/or other rights which may be asselied in the future by any person or entity against National
           Union and/or WRS.

           12.     Mcdical'e Provisions.

                   a.     If not done previously, each Claimant will immediately upon execution of this
                          Agreement supply National Union the identity of each Claimant that will be part of
                          this proposed settlement and the Medicare/Medicaid information for each Claimant
                          which National Union needs to comply with its Medicare/Medicaid repOliing
                          requirements. At the very least, this information must include:

                          i.      Health Insurance Claim Number ("I-lICN" aJk/a Medicare Number);
                          ii.     Last name;
                          iii.    First name;
                          iv.     Gender; and
                          v.      Date of birth (MMlDD/YYYY format).

                   b.     Each Claimant declares, expressly warrants, and represents that as of the date of
                          execution of this Agreement, s/he is not currently a Medicare recipient and is
                          neither Medicare eligible nor within thiliY (30) months of becoming Medicare
                          eligible; slhe is not 62 and :h years of age 01' older; s/he is not suffering from end
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                         stage renal failure; s/he has not applied for Social Security or Railroad Retirement
                         Board disability; and s/he is not permanently and/or totally disabled. Each
                         Claimant fUliher declares, expressly warrants, and represents that no benefits have
                         been received from Medicare and that Medicare therefore has no known
                         lien/recovery right for conditional payments paid in connection with any benefits
                         previously received by or on behalf of Claimants. Therefore, no Medicare interest
                         in reimbursement of Medicare benefits is being considered. Nonetheless, each
                         Claimant understands and acknowledges that, in the event there is a Medicare lien
                         or in the event a Medicare SetMAside is necessary, the said lien and/or Medicare
                         SetMAside will be solely the responsibility of and solely for the account of each
                         Claimant. In fmiherance thereof, and in the event the above information provided
                         by each Claimant is false or in any way incorrect, the Claimant shall be solely liable
                         and shall defend, indemnify, and hold National Union and WRS harmless for any
                         and all actions, causes of action, penalties, claims, costs, services, compensation or
                         the like resulting from these inaccuracies. Specifically, each Claimant agrees to
                         fully defend, indemnify, and hold harmless National Union and WRS, their
                         insurers, claims administrators, underwriters and counsel, from all past, present,
                         and future rights, if any, ofCentel's for Medicare and Medicaid Services, including,
                         but not limited to all penalties, liens, conditional payments, demands, and actions
                         in law or equity arising out of the Medicare Secondary Payer Act (42 U.S.C.A. §
                          1395y, et seq,), including the failure to satisfy all Medicare liens or conditional
                         payments. Each Claimant acknowledges that Medicare may require him/her to
                         exhaust the entire settlement proceeds for treatment arising out of the Incident
                         should s/he be a Medicare recipient or become Medicare eligible within thirty (30)
                         months. Each Claimant waives any claims for damages, including a private cause
                         of action provided in the Medicare Secondary Payer Act (42 U.S.C.A. §
                          1395y(b)(3)(A», should Medicare deny coverage for any reason, including the
                          failure to allocate an amount of this settlement for future Medicare covered medical
                         expenses or to otherwise protect Medicare's interest.

           13.    Advice of Counsel. Claimants further acknowledge that before entering into this
           Agreement they received advise conceming their legal rights from attorneys of their own choice,
           and that having received such advice, they are executing this Agreement freely and voluntarily,
           not having been subjected to any influence or duress to accept such settlement by National Union,
           WRS, or anyone else.

           14.     Nonadmission of Liability. Claimants fUliher declare that it is understood and agreed that
           this Agreement is a compromise of disputed claims and that neither this Agreement nor the
           payment of the Settlement Amount shall be construed as an admission of liability or coverage on
           the part of National Union and/or WRS. Except in an action between the parties to enforce the
           terms of this Agreement, no part of this Agreement may be used in any litigation or proceeding as
           precedent or evidence of the respective rights, duties, obligations or liabilities of any party. No
           promise, inducement, or agreement not expressed herein has been made to Claimants, and this
           Agreement contains the entire agreement between the parties.

           15.     Confidentiality. Claimants understand and agree that the settlement of these claims and
           the terms and provisions of this Agreement shall be confidential and shall not be revealed to any
           person or entity, except as required by law or court order, without the express written consent of
           Defendants. Claimants fbrther agree and understand that in the event they fail to abide by the
           terms of this paragraph and/or by the terms of this Agreement, they may be subject to an action
           for breach of this Agreement. Notwithstanding the foregoing, any party to this Agl'eement may
           disclose this Agreement (I) to any employee who has a business need to know, attorney, claims
           administrator, accountant, auditor, retrocessionaire, lender, parent company, reinsurer, consultant
           who is likewise to be bound to confidentiality, or any member company with a business need to
           know; (2) in any proceeding to enforce the terms of this Agreement; (3) as may be mutually agreed
           to in writing by all of the parties to this Agreement; (4) in response to a valid subpoena, court
           order, discovery request, or other valid directive issued by a court or governmental entity; or (5)
           as may be required by any insurance auditors or as otherwise required by law. The consent required
           under this paragraph shall not be unreasonably withheld.
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          16.     No OthCl' Claims. Each Claimant individually represents and warrants that other than
          each Claimant's individual Lawsuit referenced above, there is no other pending claim, lawsuit,
          legal action, or demand made, brought, or could have been brought, by or on their behalf against
          National Union and/or WRS relating to the Incident. In the event that any such claim(s) or suites)
          have been filed, Claimants agree to immediately dismiss any such claim, lawsuit, or action with
          prejudice.

          17.     Governing Law, This Agreement shall be governed in all respects, including validity,
          interpretation, and effect, by the laws of the State of Louisiana (without giving effect to the
          provisions thereof relating to conflicts of law). Further, the parties stipulate and agree that the
          Longshore Harbor Workers Compensation Act, the Jones Act and general maritime law do not
          apply to Claimants' past, present, and/or potential future claims.

          18.     Mutuality. This Agreement was drafiedjointly by counsel for Claimants and Defendants.
          The terms, conditions, and provisions of this Agreement shall be construed and interpreted
          according to their ordinary meanings, and there shall be no presumptions in favor of any party in
          the interpretation and construction of this Agreement.

           19.     Severability. If any term, covenant, restriction, or other provision of this Agreement or
           the application thereof to any person or circumstance is held by a court of competent jurisdiction
           or other authority to be invalid, void or unenforceable, such provision is intended to be ineffective
           only to the most limited extent possible and the remainder of the terms, covenants, restrictions,
           and provisions of this Agreement shall remain in full force and effect and shall in no way be
           affected, impaired, or invalidated.

           20.     Binding Effect. This Agreement shall be binding upon and inure to the benefit of
           Claimants' and/or their executors, administrators, personal representatives, heirs, successors,
           assigns, beneficiaries, and survivors.




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                                        AMENDMENTTOTBE
         'GLOBALCONFlJ)EN'l"IAL.SETrLEMENT AND·RELEASE AGREEMENT
           ALL CLAIMANTS AND DEFENDANTS, as named and identified in the GLOBAL
   CQlIIFnlENTlAL SETTLEMENT AND RELEASB AGREBMENT (the ·'Agreement"). througb
   their undersigned counsel, do hereby amend Paragraph 6 captioned "Settlement Amount" so as to
   permit tne Settlement Amount, described and defined therein.J.!!!m deposited directly into lhe trust
   account ofDodson & Hooks, APLC, Account.No.l0041498D held at OUlfCoast Bank and Tl'\Ist.
   instead of it being deposited into the registry of the Nineteenth JudlcialDistrict Court, a.c; originally
   setfbrlb in the Agreement.
          Claimants and their CClUnsei r~t and warrant that Dodson & Hooks, LLC has been
   Clxpressly authorized to receive the Settlement Amount inil$.lrUst aCCOl.int sod agree to hold
   National Union Fire InsuraooeCompany of Pittsburgh.             "8.
                                                               and Wallace RI.I8h Scilmidt, Inc~
   harmless fi'om any consequences of this Amendment. Further, Claimants and their counsel
   represent and warrant that Dodson & Hooks, LLC is authorized tQ execute this Amendment on
   behalf ofall Clai~nts' counsel.

           All other: terms and conditions of the Agreement to remain as stated in the Agreement.

                                                                         FIre Imlumnc:e COlbpany of




                                                   Wallace Rush Schmidt, Iuc.


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                                                   Wallace R.ush         idt. I




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                                                   H.
                                                   t 1 Fo.und.ers Drive
                                                   Ba~ Rouge, LA      7081.0
                                                   Telephone: (225) 156·.0222
                                                   Facsimile: (225) 7'6-0025
                                                   Email: Kenny@dodsonhooks.com
                                                   Email: Price@dOdsonbooks.aom




                                                   AND


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            Claimant _ _IS, _){_ IS NOT a Medicare recipient.

            If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

            Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

             First Name: _ _ _ _ _ _ _ __                       Last Name: _ _ _ _ _ _ _ _ _ __

             Gender: _ _ _ _ __                          Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


                   IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
            this Agreement on the date set forth above their signature in separate originals in the presence of
            the undersigned competent witnesses and Notary Public, after a due and complete reading and
            understanding of the whole.

                      Signed this\~day of               ()~\..la.~       , 2021.
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                 1/~C~ i ,.~.e/\A.0 b·V)
                II.                 V         {}    .


                      le-1.V\ c~.       \ ) vyu %es
                Printed Name

                 'fYlCGt~ (b,,(/\__

                Printed Name




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            Sworn to and subscribed before me the undersigned

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                                                   NOTKRY PUBLIC SIGNATURE




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Claimant __IS,       LT          a Medicare recipient.

If Claimant is a Medicare recipient, Claimant's identifying info=ation is as follows:

Health Insurance Claim Number ("HICN" a/k/a Medicare Number):_ _ _ _ _ _ _ __

 First Name:~ch~o >..l                      Last Name:     ---1~
                                                               f.C.=.-=-="'-_ _ __   _

 Gender:   N\aJ Q/ ~               Date of Birth (MMJDDIYYYY) Fo=at:


       IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
this Agreement on the date set forth above their signature in 3eparate originals in the presence of
the undersigned competent witnesses and Notary Public, after a due and complete reading and
understanding of the whole.

       Signed this     l~ay of 0 J.c ~                    ,202l.

     WITNESSES

    ~~                                                             ~KENT
    Printed Name

   ~~
     Printed Name                       '




Sworn to and subscribed before me the undersigned

       notary this &    y of   ~02l.



                       PRINTED NAME: _~~=t...~lJ~~~=»-J~_
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 29 of 75




            Claimant __IS,         )<..   IS NOT a Medicare recipient.

            If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

            Health Insurance Claim Number ("HICN" a/k/a Medicare Number):_ _ _ _ _ _ _ __

             First Name: - - - - - - - - -                  Last Name: - - - - - - - - - - -

             Gender: _ _ _ _ __                    Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


                   IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
            this Agreement on the date set forth above their signature in separate originals in the presence of
            the undersigned competent witnesses and Notary Public, after a due and complete reading and
            understanding of the whole.

                     Signed this   l~y o f ~ ~                           , 2021.

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            Sworn to and subscribed before me the undersigned

                     notary this\)~y o f ~ , 2021.,.                 ~'
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 30 of 75




        Claimant ___rs, VIS NOT a Medicare recipient

        If Claimant is a Medicare recipient, Claimants identifying information is as follows:

        Health Insurance Claim Number ("IilCN" a/k/a Medicare Number):_ _ _ _ _ __
         First Name: _ _ _ _ _ _ __                 Last Name: _ _ _ _ _ _ _ __

         ()ender:~~-----~                  Date of Birth (MM/DD/YYYY) Format:-----

               IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
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        understanding of the whole.

               Signed this ~ day of :(n.,!\h~C':]              • 2021.




             Printed Name



        ~~   Printed Name




         Sworn to and subscribed before me the undersigned




                               PRINTED NAME:
                               COMMISSION BXP-IRE--S:-(-~~4-~-----
                               BAR NO. _ _ _ _ _ _ _ _ _ _ __


                               Chris CQ Sziber #50923




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 31 of 75




         Claimant_IS:-       J    IS NOT a Medicare recipient

         If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

         Health Insurance Claim Number ("IDCN'~ a/k/a Medicare Number):_ _ _ _ _ ___
          First Name: _ _ _ _ _ _ __                 Last Name: _ _ _ _ _ _ _ __

          Gender:.~------~~                 Date of Birth {MMIDD/YYYY) F o r m a t - - - - -


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         understanding ofthe whole.

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          Sworn to and subscn"bed before me the undersigned




                                 PRINTED NAME: _ _ ___,_.,_ _ _ __
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 32 of 75




            Claimant _ _IS,          __$is     NOT a Medicare recipient.

            If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

            Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

             First Name: _ _ _ _ _ _ _ __                         Last Name: _ _ _ _ _ _ _ _ _ __

             Gender:_ _ _ _ __                         Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


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            understanding of the whole.

                       Signed this       \~ay o f ~                                  , 2021.

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            Sworn to and subscribed before me the undersigned

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  Claimant _ _IS,       /   IS NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

   First Name: - - - - - - - - -               Last Name:
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   Gender: _ _ _ _ __                 Date of Birth (MM/DD/YYYY) Format: - - - - - -


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this   _i_ day of ~                        , 2021.

       WITNESSES

       (!~             /U(l{c/Jin.J                    ~~c~   JENNER~UVIN,
                                                             individually and as administrator of
                                                             the estate of SPENCER CHAUVIN,
                                                             and on behalf of her minor children,




       Printed Name




   Sworn to and subscribed before me the undersigned

         notary this   fr day o ~ 2021.

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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 34 of 75




Claimant __IS, _ _IS NOT a Medicare recipient.

If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

Health Insurance Claim Number ("HICN" a/k/a Medicare Number):- - - - - - - - -

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 Gender:- - - - - - -                        Date of Birth (MM/DDNYYY) Format: - - - - - - -


       IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
this Agreement on the date set forth above their signature in separate originals in the presence of
the undersigned competent witnesses and Notary Public, after a due and complete reading and
understanding of the whole.

       Signed this   jJ_ day o f ~ ~                     ..1~                              , 2021.
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                                                                                            fV\a_V' ~(1 \v\cy\ G\ MX)Y \) '.S \.:,~; ,{)4-1\J-c.,
                                                                                            MARIA MATAMOROS, individually
                                                                                              and on behalf of her minor child,
     Printed Name

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Sworn to and subscribed before me the undersigned

       notary this 11 day o~s.J"k::-:::\, 20                             .
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          Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 36 of 75

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           Claimant _ _IS,      /      IS NOT a Medicare recipient.

           If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

           Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

            First Name:                                      Last Name: - - - - - - - - - - -
                          ---------
            Gender: _ _ _ _ _ __                  Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


                  IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
           this Agreement on the date set forth above their signature in separate originals in the presence of
           the undersigned competent witnesses and Notary Public, after a due and complete reading and
           understanding of the whole.

                  Signed this _K_ day of
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               WITNESSES




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           Sworn to and subscribed before me the undersigned

                  notary this fj· day of    -~TOl'W~7   , 2021.




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                       Donald A. Mau
                        Notary Public
               ID No.: 134833/Bar No.: 33965
                     State of Louisiana
                 My Commission is for Life




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 37 of 75




   Claimant _ _IS, /       IS NOT a Medicare recipient.

   If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

   Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

    First Name:                                 Last Name: - - - - - - - - - - -
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    Gender:- - - - - -                Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


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   the undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.

                                                            , 2021.




       Printed Name




   Sworn to and subscribed before me the undersigned
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          notary this <t'day of J0"'ui:v-1 , 2021.




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                         BAR NO . .:35 ·t&z S



            Donald A. Mau
             Notary Public
    IP No.: 134833/Bar No.: 33965
          State of Louisiana
       My Commission is for Life




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 38 of 75




Claimant _ _IS,      ~    IS NOT a Medicare recipient.

If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

 First Name.:   V&'\J) cl_                  Last Name: _(.,,....)~o;...r._0..;......;t=-,')--'--_~--

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       IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
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       Signed this   ~0   day of   'j'~~                 , 2021.


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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 40 of 75




  Claimant _ _IS, ____i_IS NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

   First Name:                                       Last Name: - - - - - - - - - - -
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   Gender:- - - - - - -                   Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


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  understanding of the whole.

         Signed this J!e._ day of        Januc1 rLf           , 2021.



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                                                                        LEONILA GALINDO

      Printed Name




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      Printed Name




  Sworn to and subscribed before me the undersigned

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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 42 of 75




Claimant _ _IS, --=i-.-IS NOT a Medicare recipient.

If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

Health Insurance Claim Number ("IDCN" a/k/a Medicare Number):_ _ _ _ _ _ __

 First Name:                                       Last Name:
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 Gender:- - - - - -                     Date of Birth (1v1Jv{/DD/YYYY) Format: _ _ _ _ __


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          Signed this _l_    day of   f e,.b r'L1() ry          , 2021.

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Sworn to and subscribed before me the undersigned

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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 43 of 75




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 Claimant _ _I S , ~IS NOT a Medicare recipient.

 If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

 Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

  First Name: - - - - - - - - - -                 Last Name: - - - - - - - - - - -

  Gender:- - - - - - -                 Date of Birth (MM/DD/YYYY) Format: - - - - - - -


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        Signed this .!_D_ day of                           , 2021.




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 Sworn to and subscribed before me the undersigned
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 Claimant __IS, _Yz...1s NOT a Medicare recipient.

 If Claimant is a Medicare recipient, Claimant's identifying in.formation is as follows:

 Health Insurance Claim Number ("IDCN'' a/k/a Medicare Number}:_ _ _ _ _ _ ___

  First Name:      (tbr)~                        LastName:          \\...\,1P>-»clZ
  Gender:    ~Q..Y'nA\ \e              Date of Birth (MM/DD/YYYY) Format:                          O'"'ZJ'.:L,) J'?)'4:,7
        IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
 this Agreement on the date set forth above their signature in separate originals in the presence of
 the undersigned competent wi1nesses and Notary Public, after a due and complete reading and
 understanding of the whole.

         Signed this .:z.:32. day of   ::Sc:c.,1C>J'\)          , 2021.

      WITNESSES

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                          Healthy Louisiana
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                  BIN: 610551          RxBIN: 610514            RxPCN: LOUIPROD
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                  .Am.eriHealth Caritas"
                          Louisiana
                            FRANC                 Primary care provider (PCP)
                         1465587                  FRANCJS, RYAM C. FMP
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                 Sex:M                            11&\V Ull!1WI LA 7oelO
                 DOB: 03/0S/90
                                                  PCP phone number
                 Effective: 02/01/19

                 Plan code 355/855
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 48 of 75




  Claimant _ _IS, _ _IS NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

   First Name: - - - - - - - - - -                      Last Name: - - - - - - - - - - -

   Gender:- - - - - - -                    Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.
                        '              ,..,<'
         Signed this~         day of ttbma rj                         ,2021.
            NESSES




       Printed Name




  Sworn to and subscribed before me the un . ersigned

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          Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 49 of 75




         Claimant _ _IS,                  ~    IS NOT a Medicare recipient.

         If Claimant is a Medicare recipient, Claimant's identifying information is as follows:



                                       u~£{,i1
         Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

             FirstName.:                                         LastName:        j'Wt,~
             Gender:           /J\~ t                   Date ofBirth (MM/DD/YYYY) Format:   ~- \ lo -'?St
                IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
         this Agreement on the date set forth above their signature in separate originals in the presence of
         the undersigned competent witnesses and Notary Public, after a due and complete reading and
         understanding of the whole.

                      Signed this         ?:ID_ day of {j&)\JA( ~             , 2021.

                    WI NESSES




                    Printed Name                            \




          Sworn to and subscribed before me the undersigned

                      notary t~__{} day



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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 50 of 75




  Claimant _ _IS,   ____)(is NOT a Medicare recipient.
  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

   First Name:                                      Last Name:
                 ---------                                        -----------
   Gender:- - - - - -                 Date of Birth (MM/DDNYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.
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         Signed this j_8 day of                      7
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                                                                DANIELLA MACIEL DeSOUZA, on
                                                                  behalf of her minor daughter,


      [)er>),«_ BA £9<-.<.hL
       Printed Name




  Sworn to and subscribed before me the undersigned

         notary this )K day of J{hiwH.lJ( 2021 .



                       ./          NOTARY PUBLIC SIGNATURE

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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 51 of 75




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   Claimant . ...",. ,-.IS,                      XIS                                 NOT a Medicare recipient.

   If Claimant is a Medioare r:e.qipient, elainlanf S. identifying hUQunation is as follo,;vs!

   Health Insurance Claim NUl'nber C~HrCN'~' elk/a !vfedicql~ Numh~r)~_=,.,""".,._"=. ,.,.=,.--=_.,.=
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             IN 'WITNESS WHEREOF, the                                                                           'Ilt~de;ffligf;ted   ha:vf5 know1ngly and voluntarily   execut~d
   this Agreement on the date set forth above their signature in separate originals in the presence of
   the undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.




   Sworn to and subscribed before me the undersigned




                                                                                                               PATRICK J. ESKEW

                                                                                            O...
                                                                                             ;. . ~
                                                                                                                  Notary Public
                                                                                                               Notary 10 No. 132365
                                                                                            ';;~:ti~.~ Orleans Parish, Louisiana
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 52 of 75




  Clailnant ......---_IS,            ~IS NOT a Medicare recipient.
  IfCla~ant             is a Medioare recipient, Clairuanfs identifying information is as follows:

  Health Insurance Claim Number (~~HICN~' alkJa Medicare Number):

   First Name:              \)lhf)~                                                          Laat NI\ll'le:           J1rt; )Jq                     . . ..
   Gender:          E ...           n."'"                                Dat~ofBirth(MM!DD/YYYY)Formatc:1fL~//qq'k-

         IN WITNESS 'WHEREOF, the undersigned have knowingly and voluntarily executed
                                 on
  this Agreelnent th.e date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.




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                                                 ·                   PATRICK J. ESKEVv'

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                                                                         Notary Public
                                                                      Notary ID No. 132365
                                                                    Orleans Parish, Louisiana
Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 53 of 75




  Claimant __    1sk_rn NOT a Medicare recipient.
  If Claim.ant is a Medicare recipient, Claimanf s identifying in.fonnation is as follows:



                                                                                    &eL
  Health Insuranc~~ Number ("HICN" a/k/a Medicare Number):

   First Nam~    U, ~ . .-. , . ,. ,. . ~-~..         Last Name;
   Gender:   r·                       Date of Birth (M'Mfl)D/YYYY) Format: { 2 . ~


         IN WITNESS WHEREOF\ the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this~. day of      _ffi~, -' 2021.
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  Sworn to and subscribed before me the undersigned

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                             O
                                       PATRICK J. ESKEW
                                           Notary Public
                                        Notary ID No. 132365
                                       Orleans Parish, Louisiana




                                      1····
Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 54 of 75




   Claimant ~.~rs,,krs NOT a Medica.re recipient.

   If Claimant is a Medic.are ;recipient~ Claimant~ s identifying information is as follows;

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          IN WITNESS w.Q1Ul.EOF, the undersigned have knowingly and volµntarily executed
   this Agreement on the date set forth above their signature in separate originals in the presence of
   tl:+e undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.

                     Signed this~ day of                                                        t{t~r_~.--~- ....... ,.; 2021,
              WITNESSES

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                                                                                                         PATRICK J, E~KEW
                                                                                                         .      Notary Public ·
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                                                                    '                                    Orleans Parish, Louisiana




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 55 of 75




   IfClahnant is a. Medicar~ recipi9nt, elaimiMlfs id~J;ltifyin.g mformation is as follows:




         IN WITNESS WHEREOF, the undersigned have knowingly and volunt~ly executed
   tms Agreement on the date set forth above their signature in separate originals in the presence of
   the undersigned competent witnesses and N Qtary Public, after a due and complete :reading and
   understanding of the w h o l e . ·                                                    ..

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                                  ".
                                          .      PATRICK J. ESKEW
                                                Notary Public
                                    .. . ~ ) Notary \0 No. 13~~65
                                         ~ .'    Orleans Parish, LOUIsiana




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 56 of 75




 Claimant_IS, _)( IS NOi a Medicare recipient.

 If Claimant is a Medicare recipient, Claimanf s identifying information is as follows:

 Health Insurance Claim Number ('~HICN'? a/k/a Medicare Number):....

  First Name:.   )S'~Yli' ~                                       LastNaine:            ~h~~ ,~..~.~~
                                                  Date of Birth (MM/OD/YYYY) Fonnat: ~


        IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
 this Agreement on the date set forth above their signature in separate .originals in the presence of
 the undersigned competent witnesses and N'otary Public, after a due and complete reading and
 understanding of the whole.

         Signed this    rL day of            ~~c-rr°'~'                               2021 .




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                                                              .         PATRICK J. E~KEW
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                                                                            Orleans Parish, Lou1s1anc:,
Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 57 of 75




   Claimant _ _IS, _ _IS NOT a Medicare recipient.

   If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

   Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

      First Name:                              Last Name: - - - - - - - - - - -
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      Gender:- - - - - -                Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


          IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
   this Agreement on the date set forth above their signature in separate originals in the presence of
   the undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.

            Signed this   L(        "UbDAei='
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   Sworn to and sub,scribed b:fore me the undersi    nj
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 58 of 75




  Claimant _ _IS, _£_IS NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

   First Name:                                Last Name: - - - - - - - - - - -
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   Gender:- - - - - -                Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this _&_ day of      do 000 ry           , 2021.




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  Sworn to and subscribed before me the undersigned

         notary this _ day of             , 2021.



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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 59 of 75




 Claimant _ _IS, ±_IS NOT a Medicare recipient.

 If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

 Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

  First Name:                                  Last Name:
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  Gender:- - - - - -                Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


        IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
 this Agreement on the date set forth above their signature in separate originals in the presence of
 the undersigned competent witnesses and Notary Public, after a due and complete reading and
 understanding of the whole.

        Signed this~ day of        \·:fin uarc./           , 2021.
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 Sworn to and subscribed before me the undersigned




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 60 of 75




  Claimant _ _IS, _LIS NOT a Medicare recipient.

 If Claimant is a Medicare recipient, Claimant's identifying information-is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

   First Name:                                  Last Name: - - - - - - - - - - -
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   Gender:- - - - - -                   Date of Birth (I\t1MJDD/YYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

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  Sworn to and subscribed before me the undersigned

         notary this }t-day of te.),ruary   , 2021.


                                   NOTARY PUBLIC SIGNATURE


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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 61 of 75




   Claimant _ _IS, ~ I S NOT a Medicare recipient.

   If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

   Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

    First Name: - - - - - - - - - -            Last Name: - - - - - - - - - - -

    Gender:_ _ _ _ _ __                 Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


          IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
   this Agreement on the date set forth above their signature in separate originals in the presence of
   the undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.

                        lL. day of 'f'"tl,\r\A~

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          Signed this                                     , 2021.




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   Sworn to and subscribed before me the undersigned

          notary this 1t'a.ay of GJ,/v~<t, 2021.



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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 62 of 75




  Claimant _ _IS, _i__IS NOT a Medicare recipient.

  If Claimant is a Medicare recipien~ Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ __

   First Name: - - - - - - - - - -             Last Name: - - - - - - - - - - -

   Gender:- - - - - - -              Date of Birth (1vfM/DDIYYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this -2._ day of     ft   hruo rlj           , 2021.




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  Sworn to and subscribed before me the undersigned

         notary this )~day of re.bvo..r y   , 2021.


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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 63 of 75




   Claimant _ _IS, _L_IS NOT a Medicare recipient.

   If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

   Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

    First Name: - - - - - - - - - -              Last Name: - - - - - - - - - - -

    Gender:- - - - - - -               Date of Birth (MM/DDNYYY) Format: _ _ _ _ __


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   this Agreement on the date set forth above their signature in separate originals in the presence of
   the undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.




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   Sworn to and subscribed before me the undersigned

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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 64 of 75




  Claimant _ _IS,   _0s NOT a Medicare recipient.
  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

   First Name: - - - - - - - - - -            Last Name:

   Gender: - - - - - - -             Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this~y of           ~J                   , 2021.

       WITNESSES

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       Printed Name




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  Sworn to and subscriAfore me the undersigned

         notary this22 day o f ~ 2021.



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                          PRJNTEDNA
                          COMMISSION EXPIRES:        ----r':H"----H'--1--"'-f-+-'~

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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 65 of 75




  Claimant __IS,       /1/rJ/-- IS NOT a Medicare recipient.
  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number):- - - - - - - - -

   First Name:
                 - - - - - - - - - Last Name: - - - - - - - - - - -
   Gender:- - - - - -                  Date of Birth (MM/DD/YYYY) Format: - - - - - -


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this   2.11 day of    ~12 \oyua_y     '¥ ,2021.

       ~M                                                  (JYJ Fl R, ·~/V£J Cv 2 /Y/ flfi/ o f< I> e1/ ve Z
                                                                     MARIANO GUZMAN




                                         Q(d.. ~
   Sworn to and subscribed before me the undersigned


         notary this~day o f ~


                                   NOTARY PUPLIC SIGNATURE
                                                                                               VILMA ALIAGA CACERES
                                                                                                 Notary ID lfi 24175249

                          PRINTED NAME: ~ l\OV\O"' F\\, ,0--qJCI\- Q{c._Q: If<!. S
                                                                                                My Commission Expires
                                                                                                     April 5, 2022
                          COMMISSION EXPIRES: f\ Pr<~\ s 1 ;;}-o2.'Z.
                          BAR NO. --t t> ~ l ~ L\ \ ~ 5 :2. l..\ g ,




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 66 of 75




  Claimant _ _IS, _ _IS NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

   First Name: - - - - - - - - - -            Last Name: - - - - - - - - - - -

   Gender:- - - - - - -              Date of Birth (MM/DDNYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

          Signed this _ _ day of _ _ _ _ _ _ _, 2021.



                                                        ;U~aJ~--
       WITNESSES


                                                                   MARIAsANcHEz

       Printed Name




       Printed Name




   Sworn to and subscribed before me the undersigned

          notary this fday of    ~021.



                           ~OQ. ~OTARY PUBLIC SIGNATURE


                        PRINTED NAME: - - - - - - - - - - -
                        COMMISSION EXPIRES: - - - - - - - -
                        BARNO.
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 67 of 75




  Claimant _ _IS,      >()   IS NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's.identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number):_ _ _ _ _ _ _ __

   First Name: - - - - - - - - - -             Last Name:
                                                            -----------
   Gender:- - - - - - -               Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this 25 day of       W<::wrb   \




  Sworn to and subscribe.d before me the undersigned

         notary this;.ef°day of fYlar?-L   , 2021.




                                  NOTARY PUBLIC SIGNATURE


                        PRINTED NAME: --e.:. e:.,-.. A . ~
                        COMMISSION EXPikis: a.f- d~IL-
                        BAR NO.   328<-\L




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 68 of 75




   Claimant _ _IS, Lrs NOT a Medicare recipient.

   If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

   Health Insurance Claim Number ("HICN" a/k/a Medicare Number): _ _ _ _ _ _ _ __

    First Name: - - - - - - - - - -            Last Name:
                                                             -----------
    Gender:                           Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


          IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
   this Agreement on the date set forth above their signature in separate originals in the presence of
   the undersigned competent witnesses and Notary Public, after a due and complete reading and
   understanding of the whole.

          Signed this '2."1 day of   ~gi'C     h            , 2021.




                                                                      *'ESTRADA

        Printed Name




   Sworn to and subscribed before me the undersigned

          notary this~day of fflp.r~       , 2021.



                                  NOTARY PUBLIC SIGNATURE


                          PRINTED NAME: ~ /-1 C ~
                          COMMISSION EXPf S: ~f ~J-1-
                          BAR NO.  .32...~'--\'-




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 69 of 75




 Claimant _ _IS, ~ a Medicare recipient.

 If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

 Health Insurance Claim Number ("HICN" a/k/a Medicare Number):_N_·-f-/_,_/t.......__ _ _ __

                                                          ba::,C\~~
                                                                        J
 FirstName:   l~c;:,r~ (m~~r/          LastName:
                                                         -------------
 Gender:    feM ll, k              Date ofBirth (MM/DD/YYYY) Format: ()\         t..o:ri w
   rv) Oh> y GJ1ill J__ CMQ ~)
        IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
 this Agreement on the date set forth above their signature in separate originals in the presence of
 the undersigned competent witnesses and Notary Public, after a due and complete reading and
 understanding of the whole.

        Signed this~ day of_~   W"\......._.._,_._ _ _ _, 2021.
                            ______



                                                   J5~~~ LATARA GA.INES, individually and
                                                        on behalf of her minor child,

                                                                                          Y




     Printed Name




 Sworn to and subscribed before me the undersigned

        notary this';'fta.ay of M~~l)__;




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                       PRINTED NAME:
                       COMMISSION EXPIRES:
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 70 of 75




Claimant _ _IS,    ~ Medicare recipient.
If Claimant is a Medicare recipient, Claimant's identifying information is as follows:



               &ib«-+o
Health Insurance Claim Number ("HICN" a/k/a Medicare Number):~b\,____,_l~~-------

 First Name:                                Last Name:   A01(20i/\.]:>-    C.i)rJ.erb
 Gender:    f\J\                   Date of Birth (MM/DD/YYYY) Format:~          w   ~l- \°tYJ5

       IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
this Agreement on the date set forth above their signature in separate originals in the presence of
the undersigned competent witnesses and Notary Public, after a due and complete reading and
understanding of the whole.

       Signed tmss_dday of        /J1weft              , 2021.

     WITNESSES

  ~
   ~<e_            N\1\
     Printed Name




Sworn to and subscribed before me the undersigned

                th)//rhay of /JfO,yh ,2021.
                   - ~o~(JgNq/K
       notary




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                       COMMISSION
                       BARNO.




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 71 of 75




  Claimant __IS,       V""'is NOT a Medicare recipient.
  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number):- - - - - - - -

  First Name:    lJ 1 /    ),; ~, rv,           Last Name:      !] ('. ~:;_ /
  Gender:    l?7e,.._ It                Date of Birth (MM/DD/YYYY) Format: / d)I /:J   61//9 £70
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         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this   Ir day of_J-fri'-'-'/V_M_~__,Y_ _, 2021.
     WITNESSES

     w~~~                                                      v~~~
                     ~                                           WILLIAMMA~
     W ~LL,~~. 1)~ \~ 5 ,.,,)\-                              individually and on behalf of his minor
     Printed Name                                            children,




  Sworn to and subscribed before me the undersigned

         notary this /Jday of J,4.;t1J       , 2021.


                                             t,~
                                    NOTARY PUBLIC SIGNATURE

                              7) W1Jt,,f l,~e,.c .... P
                                                 ;

                           PRINTED NAME: _ _ _ _ _ _ _ __
                           COMMISSION E*PiftES~ i..f' P-rrt. LI Fe--
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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 72 of 75




  Claimant _ _IS,        ./rs         NOT a Medicare recipient.

  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("HICN" a/k/a Medicare Number):- - - - - - - - -

  First Name:     ..._,,Amy                                     Last Name:   _·_Tu-lc=,,'~uJ'--""""'--------
  Gender:    [                                 Date of Birth (MM/DD/YYYY) Format: _ _ _ _ __


         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.
                                     \



     WITNESSES

       \D~.A->                                                                         LANC BEAL, individually
       \~n                         \.....,   (2
        vv       l LL" p..-,__        y ~~-:::>\LO~                           and on behalf of her minor children,
     Printed Name

        ~]-~~
        fJ\ a... r Xi L't   V\"'   e. c_ \. 0;_3     be <
     Printed Na




  Sworn to and subscribed before me the undersigned

         notary this /Fd.ay of               JI/Ni , 2021.




                                             u
                                             N TARY PUBLIC SIGNATURE

                                                  B,.J(J   ii   IL,~            V   P&4   b




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 73 of 75




  Claimant _ _ I , L I S           OT a Medicare recipi ent.

  If Claimant is a Medicare recipient, Claimant's identi fy ing information is as follows:

  Health Insurance Claim Number (,'HICN" a/k/a Medicare Number):. _ _ _ _ _ _ _ __

   First Name:    0 0.1"' \" 0                       Last Nal11e: b c... Yc, ·<L----

   Gender:   tJ\", I-t.....               Date of Birth (MMlDDNYYY) Format:            67,/0 ,   /19 OJ ~

         IN WITESS WHEREOF. the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate origi nals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.

         Signed this     L1- day of .LL/.!Il..I'-:l..<..!L~=-
                                                           -- __• 2021.
       WITNESSES


         ~                                                                 DAHLIN GARCIA




                                        -
       Prmted      ame




   Sworn to and subscribed before me the undersigned

          notary thi     Jl day of ro £t,f C k    2021.

                               {Jztz~
                                     NOTARY PUBLIC SIGNATURE


                              PRINTED NAME: .-=_._---- - - - - -
                              COMMIS ION EXPIRES: _ _ _ _ _ __
                              BARNO. _ _ _ _ _ _ _ _ _ _ _ _ __



                                   ·           PATRICK J . ESKEW


                                   O  -. . .
                                                   Notary Public
                                                Notary 10 No. 132365
                                               Orleans Parish, Louisiana




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 74 of 75




  If Claimant is a Medicare recipient, Claimant's identifying information is as follows:

  Health Insurance Claim Number ("mCN" a/kIa Medicare Number): _ _ _ _ _ _ __

   First Name:    I:h \do.                      Last Name:         &0 ()\ cz..
   Gender:   ttl'Y'Cl. \ t..            Date of Birth (MMIDDIYYYY) Format:       I 0 (171 ~ \ I C,   '5
         IN WITNESS WHEREOF, the undersigned have knowingly and voluntarily executed
  this Agreement on the date set forth above their signature in separate originals in the presence of
  the undersigned competent witnesses and Notary Public, after a due and complete reading and
  understanding of the whole.      ~

         Signed this   1i day of       ~                 ,2021 .

      WITNESSES

     CbN2N lUitLv


      Printed Name                 ~




  Sworn to and subscribed before me the undersigned

         notary this   1d   day   of~,---7"'~




                            PRINTED NAME~\~;~
                            COMMISSION EXP  ~      s:
                            BARNO.       ChC( 7




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Case 17-10698 Doc 555-2 Filed 12/07/22 Entered 12/07/22 13:17:44 Exhibit B Page 75 of 75
